           Case:
Shawn AO 106        4:20-mj-06296-PLC
             (Rev. 06/09)                          Doc. #:
                          Application for a Search Warrant   1 Filed: 12/02/20 Page: 1 of 15 PageID #: 1

                           UNITED STATES DISTRICT COURT
                                                           for the
                                                 Eastern District of Missouri

          In the Matter of the Search of                                )
THE PREMISES LOCATED AT 208 N. 9TH ST. APT.                             )
506, ST. LOUIS, MISSOURI 63101, FURTHER                                 )     Case No. 420-mj-6296 PLC
DESCRIBED AS AN APARTMENT ON THE FIFTH                                  )
FLOOR INSIDE THE PAUL BROWN LOFT                                        ) SUBMITTED TO THE COURT AND
APARTMENTS, WITH “506” AFFIXED TO THE                                   )SIGNED BY RELIABLE ELECTRONIC MEANS
FRONT DOOR, WHICH IS A WOOD-COLORED DOOR                                )
WITH WHITE TRIM, ON A GREEN PLACARD WITH
BLACK TEXT.
                               APPLICATION FOR A SEARCH WARRANT
    I, Callon Andrews , a federal law enforcement officer or an attorney for the government request
a search warrant and state under penalty of perjury that I have reason to believe that on the following property:
THE PREMISES LOCATED AT 208 N. 9TH ST. APT. 506, ST. LOUIS, MISSOURI 63101, FURTHER DESCRIBED AS AN
APARTMENT ON THE FIFTH FLOOR INSIDE THE PAUL BROWN LOFT APARTMENTS, WITH “506” AFFIXED TO
THE FRONT DOOR, WHICH IS A WOOD-COLORED DOOR WITH WHITE TRIM, ON A GREEN PLACARD WITH
BLACK TEXT.

located in the        EASTERN           District of     MISSOURI          , there is now concealed

                                    controlled substances and/or United States currency.

        The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                evidence of a crime;
                contraband, fruits of crime, or other items illegally possessed;
                property designed for use, intended for use, or used in committing a crime;
                a person to be arrested or a person who is unlawfully restrained.
        The search is related to a violation of:
          Code Section                                                       Offense Description
    Title 21, U.S.C., '' 846, 841(a)(1)                       Conspiracy to possess with intent to distribute controlled
                                                              substance(s)
        The application is based on these facts:
              SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE.

               Continued on the attached sheet.
               Delayed notice of _____ days (give exact ending date if more than 30 days: _______) is requested
                under 18 U.S.C. ' 3103a, the basis of which is set forth on the attached sheet.
                               I state under the penalty of perjury that the foregoing is true and correct.

                                                                     Callon Andrews, Special Agent, DEA
                                                                                     Printed name and title
Sworn to, attested to, and affirmed before me via
reliable electronic means pursuant to Federal Rules of
Criminal Procedure 4.1 and 41.

Date:     12/02/2020                                                 Patricia L. Cohen
                                                                                     Judge's signature
City and State:      St. Louis, MO                                   Patricia L. Cohen, U.S. Magistrate Judge
                                                                                     Printed name and title
                                                                     SAUSA: Karelia S. Rajagopal
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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

THE PREMISES LOCATED AT 208 N. 9TH ST.
APT. 506, ST. LOUIS, MISSOURI 63101,
FURTHER DESCRIBED AS AN APARTMENT ON
THE FIFTH FLOOR INSIDE THE PAUL BROWN Case No. 420-mj-6296 PLC
LOFT APARTMENTS, WITH “506” AFFIXED TO
THE FRONT DOOR, WHICH IS A WOOD- Filed Under Seal
COLORED DOOR WITH WHITE TRIM, ON A
GREEN PLACARD WITH BLACK TEXT.



                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Callon Andrews, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

I am a Special Agent with the Drug Enforcement Administration (DEA), and have reason to

believe that on the premises known as:

THE PREMISES LOCATED AT 208 N. 9TH ST. APT. 506, ST. LOUIS, MISSOURI 63101, FURTHER
DESCRIBED AS AN APARTMENT ON THE FIFTH FLOOR INSIDE THE PAUL BROWN LOFT
APARTMENTS, WITH “506” AFFIXED TO THE FRONT DOOR, WHICH IS A WOOD-COLORED
DOOR WITH WHITE TRIM, ON A GREEN PLACARD WITH BLACK TEXT. (THE PREMISES IS
MORE PARTICULARLY DESCRIBED IN THE PHOTOGRAPH          HERETO      ATTACHED      AS
“ATTACHMENT A”),

which is located within St. Louis, Missouri, in the Eastern District of Missouri, there is now

concealed certain property, namely,

              See the attached list entitled “Attachment B, Items to be Seized,”

which constitutes evidence of the commission of a criminal offense or which is contraband, fruits

of the crime, or things otherwise criminally possessed, or which is designed or intended for use

or which is or has been used as the means of an offense, in violation of Title 21, United States

Code, Sections 841(a)(1) and 846 (hereinafter collectively referred to as the target offenses).

The facts to support the issuance of a Search Warrant are as follows:

       1.      I, Callon Andrews, am a Special Agent with the Drug Enforcement

Administration (DEA) currently assigned to the Fairview Heights Resident Office. I have been a
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Special Agent with the DEA since May of 2016. From August of 2014 through April of 2016, I

was a Police Officer employed by the University of Wisconsin – Madison Police Department.

During my tenure with the DEA, I have participated in numerous drug investigations involving

the manufacture, transportation, and distribution of controlled substances. These investigations

have resulted in the seizure of controlled substances and proceeds from the sale of controlled

substances, as well as arrests and convictions of drug traffickers. I am familiar with and have

utilized normal methods of investigation, including but not limited to physical and electronic

surveillance, questioning of witnesses, the use of search and arrest warrants, the use of

informants, the use of pen registers, analysis of telephone records, the utilization of undercover

agents, and the use of court-authorized wire intercepts.

       2.      I am part of an experienced team of narcotics investigators currently investigating

the criminal activities of Terrence THOMPSON and others. This investigation has established

that THOMPSON and others are engaged in an ongoing conspiracy to distribute controlled

substances in violation of Title 21, United States Code, Sections 841(a)(1) and 846, the target

offenses.

       3.      The statements in this affidavit are based in part on my own investigation, as well

as information provided by other law enforcement officials, and on my experience, training and

background. Since this affidavit is being submitted for the limited purpose of securing a search

warrant, I have not included each and every fact known to me concerning this investigation.

                                   LOCATION TO BE SEARCHED

       4.      The following is in support of a search warrant for the following premises:

TARGET LOCATION: 208 N. 9th St. Apt. 506, St. Louis, Missouri 63101 (hereinafter

referred to as the TARGET LOCATION) is an apartment located inside a residential apartment

complex named “The Paul Brown Loft Apartments,” (hereinafter referred to as “the apartment

complex”), particularly described in the photographs hereto attached as “ATTACHMENT A,”
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located within the Eastern District of Missouri. The apartment complex has a tan exterior and

multiple windows with “THE PAUL BROWN LOFT APARTMENTS” and “PAUL BROWN

BUILDING 208” affixed over the front door on the outside of the apartment complex.

Apartment Number 506 is located on the fifth floor inside the apartment complex, and the

numbers “506” are affixed to the TARGET LOCATION’s front door, which is a wood-colored

door with white trim, on a green placard with black text.

        5.       The facts to support the issuance of a Search Warrant for the TARGET

LOCATION are as follows:


                            INVESTIGATION AND PROBABLE CAUSE

        6.       The Fairview Heights Resident Office of the DEA began investigating

THOMPSON and his drug trafficking activities after learning about them from a confidential

source (hereinafter "CS#1"). 1

        7.       In July 2020, members of the DEA Fairview Heights Resident Office initiated an

investigation into the drug distribution activities of THOMPSON, occurring in the St. Louis,

Missouri area and the Southern District of Illinois.

        8.       CS#1 informed your affiant that he/she had purchased crystal methamphetamine

from an individual known to him/her as “T” at various locations throughout the greater St. Louis,


1        Agents initiated this investigation based on information from CS#1. CS#1 was arrested for distribution of
crystal methamphetamine and possession of crystal methamphetamine in July of 2020 in Granite City, Illinois,
which is located in the Southern District of Illinois. CS#1 agreed to cooperate for judicial consideration on the
aforementioned charges. CS#1 was never financially compensated. CS#1’s criminal history includes arrests for
fraud, theft, possession of methamphetamine, and methamphetamine manufacturing. CS#1’s criminal history shows
he/she has several felony convictions which include: a 1988 conviction for fraud and was sentenced to 30 months’
probation; a 2005 conviction for theft and was sentenced to 120 days imprisonment; a 2006 conviction for
possession of methamphetamine manufacturing materials and was sentenced to 2 years’ probation; a 2007
conviction for possession of methamphetamine and was sentenced to 6 years imprisonment; and a 2013 conviction
for methamphetamine manufacturing and was sentenced to 10 years imprisonment. The information provided by
CS#1 in this investigation has been corroborated by surveillance, controlled buys, call detail records, recorded
telephone calls, and court-authorized Title III intercepted communications. To date, agents have not found
information provided by CS#1 to be false or misleading in this investigation. For these reasons, I consider CS#1 to
be reliable.
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Missouri area beginning in January of 2020. “T” was later identified as Terrence THOMPSON.

CS#1 said he/she began purchasing ounce quantities of crystal methamphetamine from

THOMPSON. CS#1 said            when he/she calls THOMPSON to                arrange a crystal

methamphetamine purchase, he/she has always contacts THOMPSON via telephone number

(314) 320-3934.

       9.     On August 19, 2020, the Honorable Chief U.S. District Judge Nancy J.

Rosenstengel of the Southern District of Illinois authorized the interception of the wire and

electronic communications to and from telephone number 314-320-3934, the cellular telephone

utilized by THOMPSON.

       10.    On August 24, 2020 at approximately 11:09 a.m., pursuant to a court-authorized

Title III intercept of call number 314-320-3934, utilized by THOMPSON, investigators

intercepted a telephone conversation between THOMPSON and an individual identified as Amy

Lynch, in which they were coordinating the delivery of crystal methamphetamine.

       11.    After learning of the intercepted communications between THOMPSON and

Lynch, agents, including your affiant, responded to the exterior of the TARGET LOCATION

and established surveillance. At approximately 06:18 p.m., agents observed THOMPSON exit

the front door of the apartment complex and enter the front passenger seat of Lynch's vehicle.

After THOMPSON entered the vehicle, Lynch drove around the block of the apartment

complex and returned back in front of the apartment complex, where Lynch pulled to the curb.

       12.    After THOMPSON exited the vehicle, agents maintained surveillance of Lynch.

Once Lynch drove onto I-70 westbound, agents activated their emergency equipment. Lynch

exited I-70 onto Goodfellow Blvd, discarded a plastic bag from the front passenger window, and

accelerated at a high rate of speed. Agents located the discarded item, which was a clear plastic

bag containing suspected crystal methamphetamine. Agents did not pursue Lynch and she was
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last seen west bound on I-70. Based on the investigation to date, I believe Lynch received the

clear plastic bag containing the suspected crystal methamphetamine from THOMPSON.

       13.     The suspected crystal methamphetamine, which weighed approximately 307.5

gross grams, was seized and sent to the DEA laboratory for analysis. To date, agents have not

received an analysis of the drug. However, based on agents’ training and experience, the

suspected crystal methamphetamine appeared consistent with crystal methamphetamine seized

during prior investigations.

       14.     On August 27, 2020, at approximately 7:00 p.m., agents intercepted a Title III

communication between THOMPSON and an individual identified as Anthony Brabec, who

investigators believe to be a crystal methamphetamine customer of THOMPSON’s.                The

following is the conversation between THOMPSON and Brabec identifying the TARGET

LOCATION:

       THOMPSON:               Hello?
       BRABEC:                 I found a spot on ninth…
       THOMPSON:               Come upstairs.
       BRABEC:                 Come upstairs? Alright.
       THOMPSON:               Yeah, I don’t want to come down there.
       BRABEC:                 Come through the building and come up?
       THOMPSON:               I’m in the Paul Brown Lofts.
       BRABEC:                 Alright. So where do I go?
       THOMPSON:               In the big door.
       BRABEC:                 Alright. In the big door and then go where?
       THOMPSON:               You hit the big box and press star 0056.
       BRABEC:                 Star 0056. Alright, I got you.
       …
       THOMPSON:               Pound 0056.
       …
       THOMPSON:               Come to the fifth floor.
       BRABEC:                 Fifth? You said fifth floor?
       …
       BRABEC:                 I’m on the fifth…
       THOMPSON:               Come to 506.
       BRABEC:                 506… to the left or the right?
       THOMPSON:               I’m going to give you this, man. Don’t really do too much talking
                               ‘cause I got company. You know what I’m saying?
       BRABEC:                 I got you.
       THOMPSON:               I need this bag back. This the only good bag I got left.
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        BRABEC:                     Okay.


        15.        On December 1, 2020, at approximately 9:43 a.m., CS#1 contacted

THOMPSON, via telephone number 314-320-3934. THOMPSON asked CS#1, “How you

lookin’ on cash wise? You got anything lined up?” CS#1 informed THOMPSON that he/she

had enough for a “half.” THOMPSON replied, “Okay, so I’m going to give you a whole one.”

Based on training and experience, when CS#1 stated “half,” CS#1 was referring to one half

pound of crystal methamphetamine and when THOMPSON said “whole one,” he was referring

to one pound of crystal methamphetamine. Later at approximately 10:47 a.m., THOMPSON

contacted the CS#1 via the same telephone number and instructed CS#1 to meet him at the

“Citygarden [Sculpture] Park,” which is one block south of the TARGET LOCATION.

        16.        On the same date, prior to the controlled drug purchase, agents, including your

affiant, met with CS#1. Your affiant provided CS#1 with undercover audio/video recording

devices to capture the transaction and $2,500 in Official Advanced Funds (OAF) to purchase

approximately one pound of crystal methamphetamine. Agents, including your affiant, also

searched both CS#1’s person and CS#1’s vehicle for contraband or other controlled substances,

with negative results. At approximately 11:29 a.m., CS#1 left the meet location and traveled to

meet THOMPSON in St. Louis, Missouri, followed by surveillance.

        17.        At approximately 11:36 a.m., CS#1 arrived at the Citygarden Sculpture Park in St.

Louis, Missouri. At approximately 11:38 a.m., agents observed THOMPSON exit the parking

garage located underneath the TARGET LOCATION onto Pine Street in a silver Infiniti sedan,

bearing Missouri vehicle registration LF9J1D.2 Investigators observed THOMPSON in the

silver Infiniti sedan drive past CS#1’s vehicle. CS#1 followed THOMPSON in the silver

Infiniti sedan to a parking lot located at 405 N. 11th St., St. Louis, Missouri, where both vehicles


2 Missouri   vehicle registration LF9J1D is registered to Terrence THOMPSON at 10 Garnier Ct., Florissant,
Missouri.
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parked. At approximately 11:45 a.m., investigators observed CS#1 exit his/her vehicle and enter

the passenger seat of THOMPSON’s silver Infiniti sedan. At approximately 11:49 a.m., CS#1

exited THOMPSON’s vehicle. Agents, including your affiant, maintained surveillance of CS#1

following the controlled purchase until agents met with CS#1 at a neutral location.

        18.       After the controlled drug purchase, CS#1 met with agents, including your affiant,

at an undisclosed meet location and gave your affiant the suspected crystal methamphetamine

and recording devices. CS#1’s person and CS#1’s vehicle were searched by investigators for

contraband, with negative results.       CS#1 informed your affiant that during the controlled

purchase, THOMPSON placed the crystal methamphetamine into one of CS#1’s bags located in

the vehicle in exchange for the $2,500 OAF. I later reviewed the audio and video recording of

the meeting between THOMPSON and CS#1. I observed that THOMPSON was the individual

in the silver Infiniti sedan and also that THOMPSON took the $2,500 OAF and counted it while

in the vehicle.

        19.       Agents also maintained surveillance of THOMPSON in the silver Infiniti sedan.

At approximately 11:58 a.m., THOMPSON arrived at Nephew’s Grille located at 742 S. 4th St.,

St. Louis, Missouri and appeared to pick up food. At approximately 12:32 p.m., agents observed

THOMPSON depart Nephew’s Grille and then drive into the parking garage located underneath

the TARGET LOCATION.

        20.       Investigators verified the garage located underneath the TARGET LOCATION

is accessible directly from the TARGET LOCATION without exiting the apartment complex.

        21.       The suspected one pound of crystal methamphetamine was seized and sent to the

DEA laboratory for analysis.        To date, agents have not received an analysis of the drug.

However, based on agents’ training and experience, the suspected crystal methamphetamine

appeared consistent with crystal methamphetamine seized during prior investigations.

        22.       On December 2, 2020, your affiant sent a subpoena to Ameren, a utilities
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company located in St. Louis, MO, regarding the account holder for the TARGET

LOCATION.         Ameren responded with information that Terrence THOMPSON, bearing a

social security number with the last four digits of 8272, is the account holder for the TARGET

LOCATION. The target of this investigation, THOMPSON, has social security number 499-

92-8272.

           23.      Based on the above information, including learning THOMPSON commonly

keeps crystal methamphetamine inside his residence, I believe THOMPSON uses the TARGET

LOCATION to distribute methamphetamine in the Eastern District of Missouri. I believe

THOMPSON possesses, at times, methamphetamine at the TARGET LOCATION. I also

believe THOMPSON possesses proceeds from the sale of methamphetamine at the TARGET

LOCATION.

           24.      Based upon the investigative team’s experience and our participation in other

investigations involving individuals involved in the large-scale drug trafficking and money

laundering, I know the following:

           a.    It is common for large-scale dealers to secrete contraband, proceeds of drug sales,

and records of drug transactions in their residence or other buildings under their control.

           b.    Drug traffickers frequently keep near at hand, in their residence or other buildings

under their control, paraphernalia for packaging, cutting, weighing and distributing of drugs.

These paraphernalia include, but are not limited to scales, plastic bags, and cutting agents.

           c.    Drug traffickers maintain books, records, receipts, notes, ledgers, airline tickets,

computer hard drives and disk records, money orders and other papers relating to the

transportation, ordering, sale and distribution of controlled substances. Drug traffickers

commonly "front" (provide drugs on consignment) drugs to their clients. The aforementioned

books, records, receipts, notes, ledgers, etc. are maintained where the drug traffickers have ready

access to them, specifically in their residence or in other buildings under their control.
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       d.      Drug traffickers take or cause to be taken photographs of them, their associates,

their property and their product. These traffickers frequently maintain these photographs in their

residence or other buildings under their control.

       e.      Persons involved in large-scale drug trafficking conceal in their residence or other

buildings under their control large amounts of currency, precious metals, jewelry, and financial

instruments, including, but not limited to, stocks and bonds, papers, titles, deeds and other

documents reflecting ownership of vehicles and property utilized in the distribution of drugs or

which are proceeds from the distribution of drugs.

       f.      When drug traffickers amass large proceeds from the sale of drugs that the drug

traffickers attempt to legitimize these profits. I know that to accomplish these goals, drug

traffickers utilize financial institutions, including but not limited to, foreign and domestic banks

and their attendant services, securities, cashier's checks, money drafts, letters of credit, brokerage

houses, real estate, shell corporations and business fronts. They maintain record of these

transactions in their residence or other buildings under their control.

       g.      Drugs are frequently transported in bulk to St. Louis, Missouri from other states

and/or countries. It is common for drug traffickers to travel to major distribution centers to

purchase drugs and/or to arrange for their distribution elsewhere in the United States. After

purchasing drugs, these drug traffickers will transport or cause to be transported, drugs to the

areas in which they will distribute the drugs. The methods of transportation include, but are not

limited to, commercial airlines, private airlines, rental automobiles, private automobiles, and

government and contract mail carriers. Records of their travel are frequently kept in their

residence or other buildings under their control.

       h.      Evidence of occupancy and residence including, but not limited to utility and

telephone bills, canceled envelopes, rental or lease agreements, and keys, is relevant evidence in

narcotics prosecutions.
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       i.      Drug traffickers commonly maintain telephone bills, invoices, packaging, cellular

batteries and/or charging devices, cancelled checks or receipts for telephone purchase/service;

cellular and/or landline telephones; digital and/or alphanumeric text (two-way) pagers;

computers capable of e-mail and/or chat-room communication, answering machines; address

and/or telephone books and papers reflecting names, addresses, and/or telephone numbers of

sources of supply, of customers, and/or evidencing association in fact with persons known to

traffic in controlled substances or to facilitate such trafficking. These records are maintained

where drug traffickers have ready access to them, specifically, in their residence or in other

buildings under their control.

Therefore, I believe THOMPSON possesses evidence of the target offenses and seek to search

for the aforementioned evidence at the TARGET LOCATION.



                                                   ______________________________
                                                   Callon Andrews
                                                   Special Agent
                                                   Drug Enforcement Administration




                                               2nd day of December 2020.
       Subscribed and sworn to before me this ______

                                                       Patricia L. Cohen
                                                       _________________________________
                                                      HON. PATRICIA L. COHEN
                                                      UNITED STATES MAGISTRATE JUDGE
                                                      EASTERN DISTRICT OF MISSOURI
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                                  ATTACHMENT A

THE PREMISES LOCATED AT 208 N. 9TH ST. APT. 506, ST. LOUIS, MISSOURI
63101, FURTHER DESCRIBED AS AN APARTMENT ON THE FIFTH FLOOR INSIDE
THE PAUL BROWN LOFT APARTMENTS, WITH “506” AFFIXED TO THE FRONT
DOOR, WHICH IS A WOOD-COLORED DOOR WITH WHITE TRIM, ON A GREEN
PLACARD WITH BLACK TEXT.


       Photograph of the exterior of the building “The Paul Brown Loft Apartments:
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                  Photograph of the front door of Apartment 506:
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                                           ATTACHMENT B

                                            Items to be Seized

1.      Methamphetamine and other controlled substances;

2.      Paraphernalia for packaging, cutting, weighing and distributing controlled substances,

including, but not limited to, scales, baggies, and spoons;

3.      Books, records, receipts, notes, ledgers, and other papers relating to the transportation,

ordering, purchasing, and distribution of controlled substances;

4.      Telephone bills, invoices, packaging, cellular batteries and/or charging devices, canceled

checks or receipts for telephone purchase/service; address and/or telephone books and papers

reflecting names, addresses, and/or telephone numbers of sources of supply, of customers, and/or

evidencing association with persons known to traffic in controlled substances or to facilitate such

trafficking;

5.      Photographs, in particular photographs of co-conspirators, of assets, and/or of controlled

substances;

6.      United States Currency, precious metals, jewelry, and financial instruments, including,

but not limited to, stocks and bonds, papers, titles, deeds and other documents reflecting

ownership of vehicles and property utilized in the distribution of cocaine, or which are proceeds

from the distribution of methamphetamine;

7.      Books, records, receipts, pay stubs, employment records, bank statements and records,

money drafts, letters of credit, money order and cashier’s checks receipts, passbooks, bank

checks and other items evidencing the obtaining, secreting, transfer and/or concealment of assets

and the obtaining, secreting, transfer, concealment and/or expenditure of money;

8.      Papers, tickets, notes, schedules, receipts and other items relating to travel or

transportation, including, but not limited to, travel to and from St. Louis, Missouri and

elsewhere;
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9.     Any and all records or documents evidencing possession, use, or ownership of the

premises to be search or property to be seized, including but not limited to, utility, telephone and

internet service bills, cancelled envelopes, mail, rental payments, or housing agreements;

10.    Firearms and/or weapons;

11.    Cellular telephones; and

12.    Security systems, cameras, cables, recording devices, monitors, and other video

surveillance equipment.
